CaSe 8-18-77301-|&8 DOC 10 Filed 11/13/18 Entered 11/13/18 11218210

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Chapter 7
WILLIAMS SPECIALIZED, INC., Case No.: 18-77301 (LAS)

Debtor.
_______________________________________________________________ X

DECLARATION PURSUANT TO LOCAL RULE 1007~1(1))

Michael Williams, President of Williams Specialized, Inc. (the “Debtor”), herein declares
under penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and correet:

1. The Debtor filed a petition under Chapter 7 of the Bankruptcy Code on October 29,
201 8.

2. Schedules A-H Were not filed at the time of filing of the said petition, and are
being filed herewith.

3. The Statement of Finaneial Affairs, and Declaration under Penalty of Perjury for
Non~lnclividual Debtors.

4. The following creditors andjor notice parties are being added to the matrix
previously filed With the court

Stanley A. Camhi, Esq.
Jaspan Sehlesinger, LLP
300 Garden City Plaza
Garden City, NY 11530

Internal Revenue Service

PO BoX 7346

Philadelphia, PA 19104
Dated: Novernber 13, 2018

s/ Michael Willz'ams
Michael Williams, President of` the Debtor

 

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Fi|l in this information to identify the case:
Debtor name Wi|liams Speoia|ized, lnc.

United States Bankruptcy Court for the: EASTERN DlSTR|CT Ol-' NEW YORK

 

Case number (if known) 18-?730'| (LAS)

 

|:| Check if this is an
amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabi|ities for Non-|nclivicluals 12l15

 

Summary of Assets

1. Schedule A/B.' Assets-Rea.l and Fersonal Property (Ochla| Form 206A/B}

1a. Real property:
Copy line 88 from schedule A/B ............................................................................................................................. $ O-OO

1b. Tota| personal property:
copy line emier schedule A/s $ 429»161-33

ic. Tota| of all property:
Copy line 92 from Schedule A/B ........................................................................................................................... $ 429’161'33

summary cf Liablliliee

2. Schedule D: Creditors Who Have Cl'al'ms Secured by Property (Ofl`lcial Form 206D)
copy the total dollar amount listed in column A, Amcnn: crclclm, from line 3 cf schedule 0 .................................... $ 0-°°

3. Schedul'e E/F: Credl'tors Who Have Unsecured Cl'al'ms (Otl`lcia| Form 206E!F)

3a. Tota| claim amounts of priority unsecured claims:

Copy the total claims from Part'l from line 53 of Scheo'ule E/F $ 71953-75
3b. Tota| amount of claims of nonprlcrity amount of unsecured claims:
Gopythe total of the amount of claims from Part 2 from line 5b of Schedule E/F "'$ 543»520-89
4. Total liabilities
l_lnee 2 + se + 3b $ 551 1474-64
Ofncial Form 2063um Summary of Assets and Liabilities for Non-lndividua|s page 1

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Fl|l in this information to identify the case:
Debtor name Wil|iams Speciallzed, lnc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

 

CE\SG number (if known} 18-77301 (LAS)

 

|:| Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule AlB: Assets - Real and Personal Property tone

Disclose all property, real and persona|, which the debtor owns or in which the debtor has any other lega|, equitable, or future interest.
include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. |n Schedule AIB, list any executory contracts
or unexpired leases. liliilso list them on Schedule G: Executory Conrracts and Unexpfred Leases (Official Form 206(5).

Be as complete and accurate as possib|e. |f more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information appliesl lf an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part `_11_, list each;a:s"set underthe§a`pp`r`opr`iate cate:g_ory'or attach separate supporting`schedu_les,§`sucl'i asia fixefd`asset `_.`_
Schedule Or depi€¢iati_f>n SChedl-l|e, fhat.`gives the details_f_or_each asset_i_n a;'p'articular jcategory.- _l__i_s_t each asset only _ojrice'. ln valuing`t_he` z j .

`deb`to`r"s interest, do n__c_)t_ deduct the`value o`f secured claims. See__t_l‘_le'_i_njsti_”_uct_ions to understand'the terms used_in_this`fdrm.` -- ":`:"

Cash and cash equivalents ---------

1. Does the debtor have any cash or cash equivalents?

l:l No. Go to Part 2.
l res Fill in the information oelow.

 
 

j rcurrejnt value o`_f.`:: "
- jdebtor's` interest :"

     

 

 

 

3. Checking, savings, money market, or financial brokerage accounts (ldenfl'fy all)
Name of institution (bank or brokerage l“lrm) Type of account Last 4 digits of account
number
3.1, Citibank Checking 3600 $1,500.00
4. Other cash equivalents (ldent‘l'n) a!l)

5. Total of Part 1. $1 1500_00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

 

l No. Go to Part 3.
|:| Yes Fi|l in the information below.

Accounts receivable
10. Does the debtor have any accounts receivab|e?

l:| No. Go to Part4.
l Yee Fill in the information oclow.

 

 

11. Accounts receivable
11b. 0ver 90 days old: 427,661.33 - 0.00 =.... $427,661.33
face amount doubtful or uncollectible accounts
Ofi"lcial Form 206AIB _ Schedule A/B Assets - Real and Personal Property page 1

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Debtor Wi|liams Specia|ized, |nc. ` Case number (lrlmown) 18-77301 (LAS)

Name

12. Total of Part 3. $427,661.33
Current value on lines 11a + 11b = line 12. Copy the total to line 82.

investments
13. Does the debtor own any investments?

 

l No. co to Part 5.
|:| Yes Fill ln the information below.

lnventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

l No. Go to Part6.
l:l Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

l No. soto Part r.
|:| Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

l No. Go to Part8.
l:l Yes Fill in the information below.

`Part 8: ltllachinery, equipment and vehicles
46. Does the debtor own or lease any machinery, equipmentl or vehicles?

l No. co to Part 9.
l:l Yes Fill in the information below.

Rea| property
54. Does the debtor own or lease any real property?

l No. co to Pen 10.
l:l Yes Fill in the information below.

Part1'0: ` intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

l No. soto Part 11.
i:l Yes Fill in the information below.

Part'i‘l: _ Allotherassets

70. Does the debtor own any other assets that have not yet been reported on this form?
include all interests in executory contracts and unexpired leases not previously reported on this form.

 

l:l No. Go to Part12.
l roe Fill in the information oelow.

'¢“_r"`iefii`t ital_ue_joff` “1---;;-
q°bt°i'_$_l'f'i¢_"esi "

  

Oflicial Form 206AIB Schedule A/B Assets - Real and Personal Property n page 2
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Debtor

71.

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Williams Specialized, inc. Case number (lrimown) 18-77301 (LAS)

 

Name

Notes receivable
Description (include name of obligor)

 

 

 

 

 

 

 

 

72. Tax refunds and unused net operating losses (NOLs)
Description (for examp|e, federal, staie, local)
73. interests in insurance policies or annuities
74. Causes of action against third parties (whether or not a lawsuit
has been filed)
Williams Speciaiized, |nc. v. F.W. Sims, |nc. Unknown
Nature of claim
Amount requested $0.00
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
76. Trusts, equitable or future interests in property
7'?. Other property of any kind not already listed Exam,ol'es.' Season tickets
country club membership
78. Total of Part 11. $glog
Add lines 71 through 77. Ccpy the total to line 90.
79. Has any of the property listed in Part 11 been appraised by a professional within the last year'?
l No
L__l Yes
Ofl'"lcial Form 206A/B Schedule Al'B Assets - Real and Personal Property page 3
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Debtor Williams Specialized, lnc.

 

Name

Part12: `_ Sumrnary

irl Part 12

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Ofncial Form 206NB

all of the the earlier rts of the form

    
 

  

Cash, cash equivalents, and financial assets.
Copyil'ne 5, Part 1

Deposits and prepayments. Copy fine 9, Part 2.
Accounts receivab|e. Copy line 12, Part 3.

investments Copy line 17, Part 4.

lnventory. Copyiine 23, Part 5.

Farming and fishing-related assets. Go,oy line 33, Part 6.

Office furniturel fixtures, and equipment; and coilectib|es.
Copy !l'ne 43, Part 7.

Machinery, equipment, and vehicles. Copyll'ne 51, Part 8.

Rea| property. Co,oyir'ne 56, Part 9 ...........................................................

intangibles and intellectual property. Copyil'ne 66, Part 10.

Aii other assets. Copy line 78, Part 11.

  

Case number (lrlmownl 18-?7301 (LAS)

$1,500.00

$0.00
$427,661.33
$0.00
$0.00

$0.00

$0.00

$0.00

.............................. >

$0.00

$0.00

 

 

 

 

$0.00

 

 

 

Total. Add lines 80 through 90 for each column

 

$429,161 .33

 

+91b.

 

 

$0.00

 

 

Total of all property on Schedule A!B. Add lines 91 a+91b=92

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Schedule Al'B Assets - Real and Personal Property

 

 

$429,161.33

 

 

page 4

Best Case Bankruptcy

 

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Fill in this information to identify the case:

Dethr name Williams Specialized, |nc.

Unlted States Bankruptcy Court for lhe: EASTERN DlSTR|CT OF NEW YORK

Case number(ifknown) 18-77301 (LAS)

 

|j Checl< if this is an
amended filing

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12l15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?

l No. Check this box and submit page 1 of this form to the court With debtor's other schedulesl Debtor has nothing else to report on this form.
l:l Yes. Fill in all ofthe information below.

Ochial Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

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Fill in this information to identify the case:

Deber name Williams Specialized, inc.

 

United States Bankruptcy Court for the: EASTERN DlSTRiCT OF NEW YORK

 

Case number (if known) 18-7730'| (LAS)

 

|:[ Check if this is an
amended d|_ing

 

 

Official Form 206E/F
Schedule EIF: Creditors Who Have Unsecured C|aims 12l15

 

 

Be as complete and accurate as possible. Use Part 1 for creditors with F'R|OR|T\' unsecured claims and Part 2 for creditors with NONFR|ORITV unsecured ciaims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Reai and
Personal Property (Official Form 206AIB) and on Schedule G: Execui‘ory Contracts and Unexpllred Leases (Official Form 2066). Number the entries in Parts 1 and
2 ln the boxes on the left. if more space is needed for Part 1 or Part 2, fill out and attach the Additiona| Page of that Part included in this form.

List Ali creditors with PRloRn'Y unsecured claims

1. Do any creditors have priority unsecured claims? (See ‘ii U.S.C. § 507).

El No. co to Part 2.

- \’es. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole orin part. lfthe debtor has more than 3 creditors
with priority unsecured claims. fill out and attach the Additional Page cf Part 1.

Priority creditor's name and mailing address
internal Revenue Service
PO Box 7346
Phi|adelphia, PA 19104

 

Date or dates debt was incurred

2014

Total claim ` - Priority"amo'unt" --

As of the petition filing date. the claim is:
Check ali that appiy.

l:l Contlngent
i:l Unl|quidated
i:l Disputed

$7,953.75 $7,953.75

 

Basis for the claim:
Corporate Taxes

 

Last 4 digits of account number

Specify Code subsection of PR|OR|TY
unsecured claim: 11 U.S.C. § 50?(a) @)

is the claim subject to offset?

- No
l:| Yes

 

List All creditors with NoNPRlchTY unsecured claims
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. if the debtor has more than 6 creditors with nonpriority unsecured claims fill

out and attach the Additional Page of Part 2.

 

 

 

Nonpriority creditor's name and mailing address As ofthe petition filing date, the claim is: Cheokall that apply. Unknown
Al|en Swerdlick cio l _
Benjamin A. Karfunke| Esq C°“t‘"ge"t
New & Karfunkei, P.C. l unliquidated
1129 Bloomfteld AveSte215 - Disputed
West Caldweil, N.l 07006 W_thd l L_ b_|_
' h ' 2 l" W
Date(s) debtwas|ncurred_ Basis fort eclaim l a a la l lily
Last 4 digits of account number is the claim subject to offset? l No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cneck allinarapply. Unknown
Anthony Storz cio -
Benjamin A. Karfunke| Esq C°"""'ge"t
New & Karfunkei, P.C. l unliquidated
1129 B|oomfieid AveSte215 l Disputed
West Caldweil, NJ 07006 _ _ _ _
Basls for the ciaim: Withdrawa| Llabillt
Date(s) debt was incurred _
Last 4 digits of account number ls the claim subject to offset? l No i:i Yes
Official Form 206EIF Schedule EfF: Creditors Who Have Unsecured C|aims page 1 of 4

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Debtcr Williams Specialized, inc.

 

Name

Case number (iri<newn) 18-77301 (LAS)

 

 

 

 

 

 

 

 

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheeicai‘i that appiy, $158,212.39
Bay Crane of Long island |Ii Contingeni
333 gem;"df:h Rd l:i unliquidated
eW OU |:|
_ _ Disputed
chksvli|e, N‘( 11801 T b
Date[s) debt was incurred _ Bas|s for the cla|m: LDEL
Last4 digits of account number is the claim subject to offset? - N_c |:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Check all rhatappiy. $221,135.50
F.W. SimS, irlC. l:i Contingent
101 OtlS Si:. i:i Un|lquidated
West Baby|on, NY 11704 |_'_| Disputed
Date¢$) debt Was incurred - Elas|s for the claim: Trade Débl‘.
Last 4 digits of account number_
is the claim subject to offset'? - No i:l Yes
Nonpriority creditor's name and mailing address As of the petition filing datel the claim is: Checit ailttiatappiy. $9,598_34
Jamaica Ash m Conflngent
1P7(')2 §Chgg;$t"eet l:i unliquidated
OX |:| -
Disputed
Westbury, NY 11590
B ' :
Date(s) debt was incurred 2016 asls for the claim _Trade Debt
Last 4 ciigits of account number is the claim subject to offset‘? . No L_.i Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Checiraii rharappl'y. Unknown
John Su||ivan clo l
Benjamin A. Karfunkei Esq C°"“"gem
New & Karlunke|, P.C. . unliquidated
1129 Bioomfle|d AveSte215 l Dispuin
West Caldweil, NJ 07006 _
_ Bas|s for the ciaim: Wlti‘ldl"awal Lit':ibili'l‘.y
Dateis) debt was incurred __
i_astii digits mr account number is the claim subject to offset? - No i:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Crieck all that eppry, Unknown
John Zak cio - _
Benjamin A. Karfunkei Esq C°"t'"gem
New & Karfunkel, P.C. l unliquidated
1129 B|oomfie|d AveSte215 l Disputed
West Caldweil, NJ 07006 _ _ _ l
' ' :_____WWL
Dateis) dehtwas incurred _ eagle fer the claim Wlthdrawai Llabillt
Lasi 4 digit5 of account number is the claim subject to offset? - No l:l Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aiirhaiapplj,t $10,000.00
Lori Ga||etti l Contingent
cio Marc M. isaac PLLC - U |_ _d t d
210 Moore Avenue " 'qu' a e
Freeporl:, NY 11520 - Disputed
Date(s) debt was incurred _ Bas|s for the claim: Tl‘ade Debt
Last4 digits °f account number- is the claim subject to offset? - Nc i:i Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cheek ali therappiy. Ur| known
Luis Herrera cio l _
Benjamin A. Karfunkei Esq C°"t'"ge"t
New & Karfunke|, P.C. l unliquidated
1129 B|oomfleld AveSte215 - Disputed
West Caldweil, NJ 07006 _ _
_ Basis for the claim: Wlthd i'aWal Llabiiity
Date(s) debt was incurred _
LasM digits of account number is the claim subject to offset? - No m Yes
Officia| Form 206 EiF Schedule El'F: Credltors Who Have Unsecured C|aims Page 2 of 4

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Deber Williams Specialized, inc.

Case number (iritnewn)

 

18-77301 (LAS)

 

 

 

 

 

 

Name
3.10 Nonpriority creditor's name and mailing address As of the petition filing date, the claim ls: Checic aiiiharapp.'y. $9,150.00
l\llid At|antic Life Systems l:| Contingeni
309 Roxbury industrial Ct i___| Uniiquidated
Charies City, VA 23030 |:i Disputed
Date(s) debt Was incurred _2013 Basis for the claim: Tl'ade Debt
Last 4 digits of account numberW
|S the claim subject to offset? - No L__l Yes
3.11 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Cher:k allihai apply. $34,365,47
NYS Nlotor Truck Assoc.
S_L|San _A- KOC|'|_ i:i Contingent
_l;lzr§-tENlahgara R§iksliflc;?)i) l:i unliquidated
xc ange e l:| Dis uted
Butraie, NY 14240 p C
s i f it ' : g '
Date($) debt was incurred_ ea s art e claim om ensation Trust
Last 4 digits of account number_ ls the claim subject to otiset'? - No m Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Checit ailihetsp,uiy. Unknown
Robert Ho|den cio l y
Benjamin A. Karfunkel Esq C°"“"ge“t
New & Karfunkel, P.C. l unliquidated
1129 B|oomfie|d AveSte215 - Disputed
West Caldweil, NJ 07006 _ _ _ _
_ Basis for the claim: Withdrawa| Liablllty
Date(s) debt was incurred _
Last 4 digits of account number is the claim subject to offset'? - Nc m Yes
3.13 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Chsck allrharapply. $76,533_35
Shadow Transport |:| Contingent
3 Ste_par P|ace _ L`_l unliquidated
Huntington Station, NY 11746 |:| Disputed
Date(s) debt was incurred - Basis for the claim: Tr‘ade Debt
Last 4 digits of account number_
is the claim subject tc offset‘? . No i:i Yes
3.14 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check alliharapply. $21,778_34
Steel Ofle LLC i:i Contingent
700 Hicksvil|e Rd m Un[iquidated
Bethpage, NY 11714 i;i Disputed
DEte(s) debt Was mem-red - Basis for the claim: Tl’ade Debt
Last 4 digits of account number_
is the claim subject to offset? . No n Yes
3.15 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Ciieck all ihsrapply. $2,747_50

Tri-State Transportation
30 Jasper St.
Staten island, NY 10314

Date(s] debt was incurred H

Last 4 digits of account number_

i:i Contingent
i:i Unllquldated
ij Disputed

Basis for the claim: Tl”ade Deb'l

is the claim subject to offset? - No i:i Yes

 

List Others to Be Notified About Unsecured C|aims

4. List' in alphabetical order any others who must be notified for claims listed ln Parts 1 and 2. Examp|es of entities that may be listed are collection agencies

assignees of claims listed above, and attorneys for unsecured creditors.

if no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. if additional pages are needed, copy the next page.

 

 

0fi"icial Form 206 ElF
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related creditor (if any) listed?

Schedule ElF: Cred|tors Who Have Unsecured C|aims

On which line' in Partt or_ Part 2 is the

 

-- Last 4 digits et

 

 

 

account number, if

Page 3 of 4
Best Case Ban kruplcy

 

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Dethl° Williams Specialized, inc.
Name

 

Name and mailing address

4-1 Stanley A. Camhi, Esq.
Jaspan Sch|esinger LLP
300 Garden Clty Plaza
Garden City, NY 11530

Case number (ifknown) 18-77301 (LAS)

 

On which line in Part1 or Fart 2 is the ~ Last 4 digits 'of __
related creditor (if any) |isted? - :'account numbe'r, if

. 1 ' ' - - : any -
Line 3.4

l:l Nof listed. Explain

 

Total Amounts of the Prlority and Nonpriority Unsecured C|aims

 

5. Add the amounts of priority and nonpriorlty unsecured claims.

  

  

bfii=i"l`§ii_ifiii"rj?ii,_

 

 

 

 

 

 

 

5a. Total claims from Part 1 58- z, 63.
Eb. Total claims from Part 2 5b. "' $ 543,520_89
5¢:. Total of Parts 1 and 2
Lines 5a + 5b = 5c. Sc. $ 551,474.64
Official Form 206 Ei‘F Schedule Ele Creditors Who Have Unsecured C|aims Page 4 of 4

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Best Case Bankruptcy

 

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i:Fil| in this information to identify the case:

Dethr name Williams Specialized, inc.

United States Bankruptoy Court for the: EASTERN DlSTRlCT OF NEW YORK

 

Case number (if known) 18-77301 (LAS)

 

 

|___| Check lf this is an
amended filing

 

Ofiicial Form 2066
Schedule G: Executory Contracts and Unexpired Leases iziis

Be as complete and accurate as possible. li more space is needed, copy and attach the additional page, number the entries consecutively

1. Does the debtor have any executory contracts or unexpired leases?
l No. Check this box and tile this form with the debtor's other schedules. There is nothing else to report on this form.

l:l Yes. Flll in all of the information below even |f the contacts of leases are listed on Schedule A/B:Assels - Real and Personal Property
(OFi`lcial Form ZOGNB).

legal¢°."fraci=iavdiiiéxviredisaac §§ 'seeing-nameaiiwaiiingaiuieeioriii_oii;..;=.ipaiisuiii ;__
'*'Jjgj;_ _ zi»=fz;; iease .-1 . _11; _: ?§v*f E- ;l_, - .~-¢_¢

    

2.1 State what the contract or
lease is for and the nature
of the debtors interest

State the term remaining

List the contract number of
any government contract

 

 

2.2 State What the contractor
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.3 State what the contractor
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.4 Statc What the contractor
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

Oficia| Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Fill in this information to identify the case:

Debtor name Williams Specialized, inc.

 

Unlted States Bankruptcy Court for the: EASTERN DlSTR|CT OF NEW YORK

 

Case number (if known) 18-77301 (LAS)

 

|:I Checl< if this is an
amended filing

 

 

Ol°iicial Form 206H
Schedule H: Your Codebtors izlls

 

Be as complete and accurate as possible. lf more space is needed, copy the Additiona| Page, numbering the entries consecutively Attach the
Additlonal Page to this page.

1. Do you have any codebtors?

- No. Check this box and submit this form to the court With the debtor's other schedules Nothing else needs to be reported on this form.
l:l Yes

2. ln Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedulesl D_-G. include all guarantors and co~obligors. in Column 2, identify the creditor to whom the debt' lls owed and each schedule

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name _j- . `ll_llailing` Address -_ ;- .. _|\_|a`mef_:`§.ff- "j f ;" Checkallschedules:.f§"§
-.::-:--::: -_:_::_-:. .... _ thatéppiyl_- .
2.1 [J D
Street |:| E;F
l:l G
Clty State Zip Code
22 l:l D
Street |:| E/i:
lIi G
City State Zip Code
2.3 |:[ D
Street l:l E/F
|Il G
City State Zip Code
2.4 |:| D
Street ij E/F
El G
Ctty State Zip Code
0fficial Form 206l-l Schedule H: Your Codebtors Page 1 of 1

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Fill in this information to identify the case:

Debtor name Williams Specialized, inc.

 

United States Bankruptcy Court forthe: EASTERN D|STR|CT OF NEW YORK

 

Case number (lf known) 1 8-'[7301 (LAS)

 

|:| Check if this ls an
amended filing

 

 

Ofiicial Form 202
Declaration Under Penalty of Perjury for Non-|ndividua| Debtors iziis

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARN|NG -- Bankruptcy fraud is a serious crime. illiaklng a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

- Declaration and signature

l am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

l have examined the information in the documents checked below and l have a reasonable belief that the information ls true and correct:

Schedule A/B.' Assets-Real and Personal Property (Official Form 208A/B)
Schedule D: Credftors Who Have Ci'al'ms Secured by Property (Officia| Form 206D)
Schedule E/F.' Credl'fors Who Have Unsecured Cl'afms (Oft`lcial Form 206E/F)
Schedule G: Executory Conl‘racts and Unex,ol'red Leases (Officia| Form 206(3)
Schedule H: Codebfors (Official Form 206H}

Summary ofAssefs and l_l"abl'lr't."es for Non-lndl'vl'duals (Ofn cial Form 2065um)

Amended Schedule
Chapfer 11 or Chapter 9 Cases: List of Credifors Who Have the 20 Largesf Unsecured Clal'ms and Are Not insiders (Ofd clal Form 204)
Other document that requires a declaration

 

l:ll:ll:lllllll

 

l declare under penalty of perjury that the foregoing is true and correct.

Execuied On November 13, 2018 X lsi Michael Williams
Signature of individual signing on behalf of debtor

 

Michael Williams
Printecl name

President
Position or relationship to debtor

Officlal Form 202 Declaration Under Penalty of Perjury for Non-lndividual Debtors

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Fill in this information to identify the case:

Debtor name Williams Specialized, inc.

 

Ui‘liled States Bankruptcy Court for the: EASTERN D|S'I`RECT OF NEW YORK

 

Case number (if known) 18-77301 (LAS)

 

|:i Chec|< ifthis is an
amended filing

 

 

Officia| Form 207
Statement of Financial Affairs for Non-Individuals Fi|ing for Bankruptcy mine

 

The debtor must answer every question. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known}.

income

1. Gross revenue from business

l:| None.

identify the beginning and ending dates of the debtor s fiscal year §_So§u§_rc§es_ of revenue
which rnay be a calendar year .. §.Check atl thatapp|y

cross raven u'e ---- § § § § § -

(before deductions and
eX§C[U§S§iO'iS} ;. §. .§f§f§f§§f

        

F°\' year before that - Operating a business $500»000-00
FrOri'l 1101]2015t0 12131!2016 __““`
|:l Other

 

2. Non-business revenue
include revenue regardless of whether that revenue is taxablel Non-business income may include interest, dividends, money collected from iawsuits.
and royalties List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

- None.

 

§Descript_ion_of:s`o r`c"e_s`§§of revenue .j_G§ro§s§s revenue from - f
i"§ ' '. . '- j-eac§hsourc`e
f(befor'e` deductions §an§d _

 

List Certain Transfers Nlade Before Fiiing for Bankruptcy

 

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of ali property transferred to that creditor is less than $6.425. (This amount may be adjusted on 4/01/19
and every 3 years after that with respect to cases fled on or after the date of adjustment.)

l None.

Credi_to_r's Narn§e and Add_ress§ '§ :D_at§e§§s§_ §§ §§ § §§ _-T§ota_`| amou§r`\_t_of value Reasons§ for payment §o_r transfer

Check aff that app!y .......

   

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursementsl made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value of ali property transferred to or for the benefit of the insider is less than $6,425. (This amount
may be adjusted on 41'01/19 and every 3 years after thatwith respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include officers. directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their reiatives; afHIiates of the debtor and insiders of such afniiates; and any managing agent of the debtor. 11 U.S.C. § 101 (31 }.

 

l None.
'-|nsid_e§r's§_n.ame_and_addre`ss_ ` §§ § § §_pa§t_e§s_ _ §§§' _§§§ §- Total amount §o_f v§aiue§§ Reaso'ns for payment or transfer ' ` '
`Re|ationshipto`debtorf " ` ` ............ -f -` - ............................
5. Repossessions, foreclosures, and returns
Officiai Form 207 Statement cf F|nancial Affairs for Non-lndividua|s Fi|ing for Bankruptcy page 1

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Debtor Williams specialized inc. Case number remove 18-77301 (LAS)

 

 

List ali property of the debtor that was obtained by a creditor within 1 year before filing this case, including properly repossessed by a creditor, sold at
a foreclosure saie, transferred by a deed i°n lieu of foreclosurel or returned to the seller. Do not include property listed in line 6.

- None

_Creditor's§name and address_-; f.§;f.§§`f§ jbes`cribe_ofthe§§P_ro_pe_rty§§ - ' ' §§§ ' § _§ Date _ -. ; Vaiue_o_f property

6. Setoffs
List any creditor, including a bank or financial institution. that within 90 days before filing this case set offer otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

- None

-Creditoi"'s_ name and_addres_s §§ §Des_cr§ipt§ion§§of§the action creditorft`ook" _ § :Da§te action was ' 1:§-_§'::§ -Am`ourit
' § § ...-§ §§ §§ § §.§..§.§§.§.§..§§ §§.= - _ _take'n _:__-::

Legal Actions or Assignments

 

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedingsl investigationsl arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
iri any capacity-within 1 year before filing this case.

   

 

 

 

g None.
§§Cag¢§fiti`o . ` §_ j-Nature_of_c_ase §§§' §§ §§ § Co`ii`rt or agen§_cy' s r_i§a_me and§ Sta§tus o_f jcas_e --; `-
;;ca;so_ number -; l -- -- ;'_j;j;";' j;'; ":*f' '§ir'r' ia`ddréss` '_ i`§---`?i ` "
7.1. John Sui|ivan, Anthoriy§ §Storz§ United States l§Jis§§t§rict §C§o§urt l Pending
Luis Herrera, John Zak, Eastern District of New |:| On appeal
Robert Hoiden and A|len YOl'k g Conc|uded
Swerdiick as Trustee of the
Loca| 807 Labor-lii‘lanagement
Pension Fund v. Williams
Specialized Services, |nc. and
XYZ Corporations, members
of the controlled group
Williams Specialized
Services, |nc.
1B-cv-03059-lLG
7.2. Williams Specialized, inc. v. Supreme COul'f State Of l Pending
F.W. Sims, inc. New Vork m 0 l
602091i15 Nassau county n C:n:§]’:::d
?.3. Lori Galletti v. Wiilmac Supreme COUrf State Of l P@nding
Warehousing and Distribution New York m On appeal
Center |nc., Williams County Of NaSSaU ij Concluded
Specialized, inc. and Michael
Williams
603352!2017
7.4. F.W. Sims, inc et a|. v. Joseph Sllpreme COUF’¢ State Of l Pending
Simonei|i et a|. New York g 0 l
22942114 S“ff°'k C°u"t¥ i:i c;§n§§<§;§i§r§r§r§i§:d

 

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed ocher within 1 year before filing this case.

. None

certain sins ana charitable contributions
Otficiai Form 207 Statement of F|nanciai Affatrs for irion-individuals Fi|irig for Bankruptcy page 2

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Debtor

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Williams Specialized, |nc.

 

Case number pri<nowni 18-77301 (LAS)

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient' is less than $1, 000

- None

Rec_ipient's name and address § §

Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

- None

_D_e§sc§ription of the property tost and
how the loss occurred

 

m Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
of this case to another person or entity including attorneys, that the debtor consulted about debt consolidation or restructuring seeking bankruptcy
relief, or filing a bankruptcy case.

 

Desc§`rip`ti`on §of the gifts or§contribut§i§ons .

-A§rr_io§ui§'i§t of payments received for the loss __ '§

|f§ yc§)u§ §h§a§ve§ received payments to§§ cover §the ioss, for
example from insurance government compensation or§ '
tort iabiiity _li§st§ the §tota§i received

 

_A/E.§§ Ass_eis _R_eai. and F§ersonaiProperly)

 

   

 

.Dates given _-

D§a§tes of loss

_ §Vali§ije§ §c§)§f property

 

§§|o§s_t

   

 

 

 

 

i:l None.
fWho was paid or who r§e§c§ § ived Dates _T§o_tal amount o`r.
the transfer? ' 51 ' ' ' ' § _§Ve|_lle§§
_Address§§__§__ §_ §__ §_ _____________
11 1 . Ju|y 9, 2018
' Jackson Lewis PC &
44 South Broadway14th Fl. September
New Roche||e, NY10801 7’ 2013 $10,812.25
§Ernai|orweb'site address §-§-§- §§ §§ .§ :§
who made i_i_i¢ paym_oni,' if_not debtors 5 1 ii
11.2. LaMonica Herbst &
Maniscalco, LLP
3305 Jerusa|em Ave Ste 201 August 30,
Wantagh, NY 11793 2018 $7,000.00

 

 

Who made the payment,§ §i§f no§t§d§e§bt§o§r§?j §f_ §'

Michael Williams, President of
Debtor

 

12 Seif-settied trusts of which the debtor‘ is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before thei filing of this case
to a se|f- settled trust or similar device

Do not include transfers already listed on this statement

Offic|al Form 207

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Statement of Flnanciai Affairs for Non-lndlvidua|s Fiiing for Bankruptcy

page 3

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D@thr Williams Specialized, lnc. CHS@ numberrifknown) 18-77301 (LAS)
- None.
Name of trust or device j § - '-§ - - -Describe any property transferred - Dates transfers § Total amount or_
f" f ` ": ': ' 'weremade - ' value

13. Transfers not already listed on this statement
List any transfers of money or other property by saie, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statementl

. None.
f-Who- received transfer’_? j' ;j§i jDes_criptionjof propertyt§ra§nsferre§d or __ ' Date transfer `§ .§ Total amount or
.:Adfclress ' -_ ' :-§ payments receivedfor debts paid'in exchange wasm§a§de ' ' § f - value

Previous Locations

14. Previous addresses
List ali previous addresses used by the debtor Within 3 years before filing this case and the dates the addresses were used.

|:I Does not apply

Address §.:§ _. §§ §

 

Dates ofoccupa§r§'r§cy §_§ . ' '
Fr°§m'To ...:'.'.:...

14-1- 400 §§§Chari§o§t§t§e §Ave 2001-2016
Hicksvi|le, NY 11801

     

 

Health Care Bankruptcies

15. Heaith Care bankruptcies
is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease. or
- providing any surgical, psychiatric drug treatmentl or obstetric care?

- No. Go to Part9.
l:l Yes. Fill in the information below.

 
 

§l§=acility name a_n§c§| addre§s§s _' N§a§t§ure §of§ the business operatio§n,§ including t§ype_ §of§ services §§ _j if j_c§ieb§to§r provides:n”fleatsj§

§'§th_e §de§btor p§rovid§es§ and housing, number of §

   

patients' in debtor.’ s care

 

Personally identifiable information

16. Does the debtor collect and retain personally identifiable information of customers?

- No.
|;l ¥es. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants m any ER|SA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

l No. so to Part 10.
|;l Yes. Does the debtor serve as plan administrator?

Part1_0:' Certain Financiai Accounts, Safe Deposit Boxes, and Storage Units

Of|icial Form 207 Statement of Financiai Affairs for Non-lndividua|s Filing for Bankruptcy page 4

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Debtr)r Wiiliams Specialized, inc. Case number rrrirmwn) 18-77301 (LAS)

 

18. C|osed financial accounts
Within 1 year before filing this casel were any financial accounts or instruments held in the debtor's name, or for the debtor’s benefit, closed, soid,
moved, or transferred?
include cnecking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperativesl associations, and other Hnancial institutions.

    

l None
Financial institution name §§a§nd§§ Last4 digits of § § § § Type of account or - Date account was ` §§'§§ L§ast_§ balance
Address §§§§§ account number _§ instrument `_ `closed,so|o_l_, § _§ - before c§l§os§ing or'
_ . ._ '§ '_-§__ _ . .§ § moved,or §.. .§ "§j§'_f_j§ §§transfer
;_jj;j_;j_;j;jj _§_§ §ii§i § § transferred '§

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

 

. None
DepOSifOry§insiitution name and address 115 ' Names§ of anyone with ._ §`§t§)es¢`r`i§piion ofthe contents ' §p§¢§ yo§.,§.'_=,§tm§ §§ j§j§
. .- § §§ §§ § §§ §§ accesstoit §._ § §§ha‘§§,eit? §§§ . §§§§
A_ddress______ jj__ -§_

 

20. Off-premisas storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building iri
which the debtor does business

- None

fl_=aci|i§ty§§r_i_arne and address """ Names of anyone with§§ ,. Description of the contents §§D§§o§ y§ou§still §
'f ` access§to§it ' :: § _ _ .. §§§§ §§§ '. ::haveit?.'__,ffj_"_

Part11: Property the Debtor Holds or Controis That the Debtor Does Not Own
21. Property held for another

List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

l None

Part 12: Details About Environment information

For the purpose of Part12, the following definitions appiy:
Environmenfaiiaw means any statute or governmental regulation that concerns pollution, contamination, or hazardous materia|, regardless of the
medium affected (air, land, water, or any other medium}.

Sr'te means any iocation. facilityl or property. including disposal sites, that the debtor now owns, cperates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous marerfai means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in anyjudiciai or administrative proceeding under any environmental law? include settlements and orders.

- No.
|:l Yes. Provide details below.

ca$é_§§t_§§§e__§_§§_§§___§§__§ _§ §_ __§ _______________
Case number '

 

§Cour_t or agencyname an§c§i§§ §§Na_ture_ ofthe c§a§s§e _ §§§§§§.§.;i §§Sta§t§u§s§of§r:§a§se§ §
H§§§ddl’ess .::. .. . .. ; :§§§§§ §§ " .. ..§

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law‘i'

Officiai Form 207 Statement of Financial Affairs for lion-individuals Fi|ing for Bankruptcy page 5

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D€biOr Williams Specialized, inc. Case number rtri<nown) 18-7?301 (LAS)
- No.
|:i Yes Provide details beiow.
S`i`te name and address § __ 1 ` ` __ `_ `Gove_rn§rr§ie§ntal unit name and: Environmental law, if known Dat§e of notice -
'.' 1§§ §§ address -' - _ . .' - § ' f

24. Has the debtor notified any governmental unit of any release of hazardous material?

- No.

l:l Yes. Provide details beiow.

Sil§:e§ nameand address §§ __ §§ §_§§§§1_; '§ Governmentalunitnameand § Environmentaiiaw,ifknown§§§§§ Da§t§e_§o§f_notice :§§
..: §. E_ §§ .. address __jj§ j_ . _ _ '. ' ' --ff §§ §

Part 13: Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner partner, member or otherwise a person in control within 6 years before filing this case.
include this information even if already listed in the Schedules.

- None

_B§L_ls_i_nes§s§§name address ' §§ §§ §§ ` Desc§ribethe_nature of the §b§usi§§ness:§ §§§_f Employer identification number§§ §' §1
_ § _§ .' §§ _ i'j . ' _ __ __ ' Do not include Social Security numberor lTiN '

   

    

   

Date§s§ b§§usi§nesse§xiste§d §._ §.r.§

26. Books, recordsl and financial statements
26a. List all acco§untants and bookkeepers who maintained the debtor' s books and records within 2 years before filing this case.
ij None

Date'of servic`e"_f§ ` ' §§§
_- -- §;_ - :_:'_::____'_: -- § _;§;;;;§_ ____ _ ._ Fl'OI_'\'|§"_TO§§?`-`i§`:
263.1- Hyman, Aaronson & Montjoy 2012-2016

18 iVlain Street

Roslyn, NY 11576

' Name an_d_ad§dres§s§ _

   

26b. List all firms or individuals who have audited compiled or reviewed debtors books of account and records or prepared a f nanciai statement
within 2 years before filing this case.

l None

26c. List ali firms or individuals who were in possession of the debtors books of account and records when this case is tiled.
ij None

'1__¢§1_8'_\_¢ address Ei=r"

 

§|f any books of account §ari_d§ records are ___ §§ §j§_§r
u§navai|ab|e§, explain why ' §§

   

26c.1. Michael Williams
148 Castie Ridge Road
Manhasset, NY 11030

26d. List ali financial institutions creditors, and other parties including mercantile and trade agencies to whom the debtor issued a tinanciat
statement within 2 years before filing this case.

-None
Naméandaddres§é § §-

27. inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

- No
l:l Yes. Give the details about the two most recent inventories
Ofiicia| Form 207 Statement of Financial Affairs for Non~lndividua|s Fi|ing for Banlrruptcy page 6

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DSbTOF Williams Specialized, |nc. Case number (irr<nown) 18-77301 (LAS)
§Name of the person who supervised the taking §of the : § _ Date of inventory The do_|_lar§ amount and basis (cost, market,
inventory . . _jj- j § §; _ . § ' 'f . orothe'r basis) ot each inventory _- ; --

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in control of the debtor at the time of the filing of this case.

Name § § _;§; address §i§ . j-§§?§ ' iii §§ Pos_itiori_and nature orany§ _i . %_or§interest,§ii
' ;_ § _' '. - '__ j;j;_j§jjjj' .;: *i. . interest ' §" : - _any'§ *§ - §
Michaei Williams 148 Castie Ridge Road President 100

Manhasset, NY 11030

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

l No
|II Yes.|deniify beiow_

30. Payments, distributions, or withdrawals credited or given to insiders
\Mthin 1 year before filing this case. did the debtor provide an insider with value in any form, including salary, other compensation, draws, bcnuses,
|oans, credits on loans, stock redemptions, and options exercised?

 

- No

|:I Yes.|dentifybe|ow.
jName anci_ address of recipient 5 §Amount ofmo_ney§c§)§r§§de§script§io§rijand§va|_u`e of _ Da_t§e§s§§f_ ` 'j_j '§Re'ason f_o_r §
- §;§ _____:____§_ .pi-dp'erfy'§f. ;§; §§§§§ 3 ' providingth&Value-§§

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

l No
l:l Yes. identify below.

§Name _of___the parent__c§orporati_on_ § §§

   

Erripjioyejr_ identification number 'o'f the par_e_m§ _ § _
§corporation§': ':§' '_§§ .:

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund‘?

l:| No
l Yes.|deniiiybeiow_

 

 

 

 

Nam§e_§o_f _t§h_e§p§ensior§i _f_L§l§nd § _______________ §E_n§1_pTo§§er_|de§§n_ti_fica§ti§on number ofthe _|§:)_ar§ent§._ _ _ __
- ??3§- --3§3 , ;§;§__§: :':":':": - - _ _ _ COTPO|'B'HO|'\ § § """" :'
Teamsters Loca| 807 E|N:
UA Loca| Steamfitters 638 E|N:
Locai 14 & 15 Operating Engineers ElN:
Ofiiciai Form 207 Statement of Financial Affa|rs for dion-individuals Filing for Bankruptcy page 7

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Debi€ir Williams Specialized, inc. Case number(”k"°“”') 18'77301 (LAS)

 

 

Part14: Signature and Dec|aration
WARN|NG -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152. 1341, 1519, and 3571.

| have examined the information in this Statement of Financiall Affairs and any attachments and have a reasonable belief that the information is true
and correct.

l declare under penalty of perjury that the foregoing is true and correct.

Executed 00 November13, 2018

 

lsi Michael Williams Michael Williams
Signature of individual signing on behalf of the debtor Printed name

F'osition or relationship to debtor President

 

Are additional pages to Statement of Financial Affairs for Non-Indr‘vr'duais Fi!r'ng for Bankruptcy (Officiai Form 207) attached?
l No
l:l Yes

Officia| Form 207 Statement of Financial Affairs for Non-lndividua|s Fi|ing for Bankruptcy page 8

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